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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

    ALANA CAIN, ET AL.                                        CIVIL ACTION

    VERSUS                                                      NO. 15-4479

    CITY OF NEW ORLEANS, ET AL.                            SECTION “R” (2)



                                   ORDER


        The Court has received a motion1 from plaintiffs to set a status

conference in order to establish a schedule for determining plaintiffs’ motion

for supplemental relief.2      The Court denies the motion for a status

conference, but orders the parties to submit additional briefing on the

Court’s jurisdiction to rule on the motion for supplemental relief.

        Plaintiffs submitted a motion for supplemental relief, requesting that

the Court clarify its declaratory judgment. 3      Defendants responded in

opposition. 4 And the Court granted plaintiffs leave to file a reply.5 The

parties, therefore, have fully briefed the matter. As such, a status conference




1       R. Doc. 345.
2       R. Doc. 331.
3       See R. Doc. 331 at 1.
4       R. Doc. 336.
5       See R. Doc. 340; R. Doc. 341.
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to discuss scheduling is unnecessary. The Court will decide the motion in

due course.

      That said, after plaintiffs submitted their motion, the Fifth Circuit

ruled on defendants’ appeal that had been pending. See Cain v. White, 937

F.3d 446 (5th Cir. 2019). And a petition for a writ of certiorari has now been

docketed before the Supreme Court. 6 The Court therefore instructs the

parties to brief simultaneously by February 21, 2020, whether the Court has

jurisdiction to decide the motion for supplemental relief in light of the

pending petition for a writ of certiorari.

      In sum, the Court DENIES the request for a status conference, but

ORDERS the parties to brief by February 21, 2020, whether the Court has

jurisdiction to decide the motion for supplemental relief.




        New Orleans, Louisiana, this _____
                                      7th day of February, 2020.


                      _____________________
                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE




6    Petition for Writ of Cert., White v. Cain (No. 19-822); see also
Supreme Ct. Notice of Petition for Writ of Cert., Cain v. White, No. 18-
30955 (5th Cir. Jan. 3, 2020).
                                      2
